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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


United States of America,

             Plaintiff,

v.                                           Case No. 19–cr–20425

                                             HON. BERNARD A. FRIEDMAN

Mario Keeream Jackson,

             Defendant.

     ___________________________________________________________


 Defendant’s Proposed Jury Instruction about Law Enforcement Credibility


       Defendant moves this Honorable Court to give an added instruction to the

jury about the credibility of law enforcement witnesses to be added within the

Sixth Circuit Pattern Criminal Jury Instruction 1.07 Credibility of Witnesses.

             “The testimony of a law enforcement officer is entitled to no greater
             weight than that of other witnesses simply because he or she is a law
             enforcement officer.”




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That proposed instruction comes from United States v. Daniels, 396 F. App'x 257,

259 (6th Cir. 2010). In Daniels, the government and the defendant agreed to using

that instruction. Id. The Sixth Circuit noted that the proposed instruction was a

correct statement of law; however,“the district court did not commit reversible

error by failing to give the instruction because other delivered instructions

addressed credibility of witnesses.” Id.



Dated: May 15, 2023                           Respectfully submitted,

                                              By: /s/Mark H. Magidson
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